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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,                         No.     3:24 MC 24 (SDV)
 Plaintiff,
V.

THE CONTENTS OF BITCOlN WALLET
ENDING IN "pS4Z", HELD IN THE NAME
OF ALOK KUMAR SINGH, AT BINANCE,
 Defendant,


       AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEIZURE WARRANT

       I, Geoffrey Goodwin, being duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.      I am a Special Agent with Immigration and Customs Enforcement, Homeland

Security Investigations ("HSI"). I have been a Special Agent with HSI since February 2006 and

am currently assigned to the Hartford, CT Office of Investigations. As a Special Agent with

HSI, I have conducted and participated in investigations involving identity theft, access device

fraud, wire fraud, mail fraud, bank fraud and other financial crimes. I have further obtained and

executed search, arrest, and seizure warrants. As an HSI Special Agent, I am an investigative or

law enforcement officer of the United States within the meaning of Section 2510(7) of Title 18,

United States Code. That is, I am an officer of the United States, who is empowered by law to

conduct investigations of and make arrests for offenses enumerated in Title 18 of the United

States Code.

        2.     I make this affidavit pursuant to 18 U.S.C. § 1343, Wire Fraud, and 18 U.S.C.

§ 1956, Money Laundering, in support of an application for a seizure warrant for the contents of

Bitcoin wallet "lKKLz5GFLkJcNkVh7rBvXhTxCNwQ3FpS4Z", held in the name of Alok

Kumar SINGH, at Binance ("TARGET WALLET"), as a direct result of deposits made by
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victims R.M. and A.D. and traced into the target wallet between January 30, 2024, and February

2, 2024 and because this account is "involved in" money laundering.

       3.      I believe that that probable cause exists to believe that the contents of the

TARGET WALLET were obtained knowingly by a scheme or artifice to defraud, or for

obtaining money or property by means of false or fraudulent pretenses, representations, or

promises, transmits or causes to be transmitted by means of wire, radio, or television

communication in interstate or foreign commerce, any writings, signs, signals, pictures, or

sounds for the purpose of executing such scheme or artifice in violation of 18 U.S.C. § 1343,

and that these funds are subject to forfeiture pursuant to civil forfeiture under 18 U.S.C. §

981(a)(l )(C) for the forfeiture of property which constitutes or is derived from proceeds

traceable to an offense constituting "specified unlawful activity" (as defined in 18 U.S.C. §§

1956(c)(7) and 1961(1)), namely wire fraud in violation of 18 U.S.C. § 1343, or conspiracy to

commit such offense, and criminal forfeiture under 18 U.S.C. 981(a)(l)(A) via 18 U.S.C. §

1956(c)(7)(A) (defining specified unlawful activities to include offenses listed in 18 U.S.C. §

1961(1)), 18 U.S.C. § 1961(1) (covering 18 U.S.C. § 1343), and 28 U.S.C. § 2461 (permitting

criminal forfeiture if civil forfeiture is permitted) for violations of 18 U.S.C. § 1343.

Additionally, I believe that the TARGET WALLET is involved in Money Laundering in violation

of 18 U.S.C. § 1956 and is subject to civil forfeiture under 18 U.S.C. § 981(a)(l )(A) and criminal

forfeiture under 18 U.S.C. § 982(a)(l).

        4.      I request that the Court issue a seizure warrant for the TARGET WALLET

pursuant to 18 U.S.C. § 981(b), 18 U.S.C. § 982(b)(l), and 21 U.S.C. § 853(f).

        5.      The facts in this Affidavit come from my personal observations, my training and

experience, witness information, and information obtained from other law enforcement officers.        .

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This Affidavit is intended to show merely that there is sufficient probable cause for the issuance

of the requested seizure warrant and does not set forth all the information law enforcement

officers have learned in this investigation.

                            BACKGROUND OF INVESTIGATION

          7.   Your Affiant is currently investigating a fraud scheme in which at least one

unknown individual took various steps to defraud at least two known victims in this case,

including directing them to send Bitcoin through Bitcoin ATM kiosks to a suspect controlled

wallet.

          8.   A fraud scheme such as this involves the victim receiving a call/e-mail/text

message stating one of their financial accounts is compromised. The message directs the victim

to contact "customer support" immediately. Upon contacting the number provided for "customer

support," the suspects gain access to the victim's computers via remote desktop software and

makes it appear the victim was accidentally "overpaid" and needs to refund the money

immediately. The victims are instructed to withdraw that "overpayment" and are then directed to

local Bitcoin ATM's for deposit. Victims are told not to contact law enforcement or to hang up

the phone.

          9.    Upon arrival at those Bitcoin ATM's, victims are told to deposit funds into those

Bitcoin ATMs and deposit those funds into specific Bitcoin wallets which the fraudsters

typically have control over. Often, the fraudsters will then rapidly move those funds out of the

initial Bitcoin wallets funds were deposited into, and disburse those funds into additional

cryptocurrency wallets, potentially multiple times. Ultimately, the fraudsters may attempt to

conduct cash withdrawals from those cryptocurrency wallets as a final step of "liquidation," or as

a step taken to make additional tracing substantially more difficult for law enforcement.



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        CRYPTOCURRENCY, TRACING AND ASSOCIATED TERMI OLOGY

       10.     Cryptocurrency, a type of virtual currency, is a decentralized, peer-to-peer,

network-based medium of value or exchange that may be used as a substitute for fiat currency to

buy goods or services or exchanged for fiat currency or other cryptocurrencies. Examples of

cryptocurrency are Bitcoin, Litecoin, and Ether.

       11.     Cryptocurrency can exist digitally on the Internet, in an electronic storage device,

or in cloud-based servers. Although not usually stored in any physical form, public and private

keys used to transfer cryptocurrency from one person to another can be printed or written on a

piece of paper or other tangible object. Cryptocurrency can be exchanged directly person to

person, through a cryptocurrency exchange, or through other intermediaries. Generally,

cryptocurrency is not issued by any government, bank, or company; it is instead generated and

controlled through computer software operating on a decentralized peer-to-peer network.

       12.     Most cryptocurrencies have a blockchain, which is a distributed public ledger, run

by the decentralized network, containing an immutable and historical record of every transaction.

Cryptocurrency is not illegal in the United States and the vast majority of cryptocurrency

transactions are for legitimate and legal purposes. There are, however, many ways in which

criminals exploit cryptocurrency for illicit activity.

       13.     Bitcoin (BTC) is a type of cryptocurrency. Payments or transfers of value made

with bitcoin are recorded on the blockchain network. Cryptocurrency is stored in a virtual

account called a wallet. Wallets are software programs that interface with blockchains and

generate and/or store public and private keys used to send and receive cryptocurrency. A public

key or address is akin to a bank account number and a private key is akin to a PIN number or

password that allows a user the ability to access and transfer value associated with the public



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address or key. To conduct transactions on a blockchain, an individual must use the public

address (or "public key") and the private address (or "private key"). A public address is

represented as a case-sensitive string of letters and numbers, 26 to 36 characters long. Each

public address is controlled and/or accessed through the use of a unique corresponding private

key - the cryptographic equivalent of a password or PIN - needed to access the address.

       14.     Cryptocurrency "exchangers" and "exchanges" are individuals or companies that

exchange bitcoin for other currencies and cryptocurrencies, including U.S. dollars. According to

the Department of Treasury, Financial Crimes Enforcement Network ("FinCEN") Guidance

issued on March 18, 2013, virtual currency administrators and exchangers, including an

individual exchanger operating as a business, are considered money services businesses. They

are subject to certain regulatory requirements, such as collecting know-your-customer (KYC)

information for its users.

       15.     As noted above, all cryptocurrency transactions are recorded on the blockchain,

which becomes a public ledger. The transaction data available on the blockchain allows

investigators to trace the flow of funds from one address to another. The limitation of the

publicly available blockchain is that the addresses are not associated with any real-world entities.

To address this problem, law enforcement will utilize proprietary blockchain analysis tools to

create a visual representation of the flow of funds and attribute certain addresses to real world

entities, such as cryptocurrency exchanges. If funds are ultimately identified as being held on an

account at a cryptocurrency exchange, such as Binance, legal process can be served on that

exchange to affect a seizure of the illicit proceeds much akin to how US dollars can be seized

from a bank account. The Westport Police Department (WPD) utilized software from TRM to

trace the flow of funds in the case. TRM is a company which, according to their website,


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"provides blockchain data with advanced analytics to help financial institutions and governments

fight fraud, money laundering, and financial crime."

                       FACTS IN SUPPORT OF PROBABLE CAUSE

       16.     On February 1, 2024, R.M. came to Westport Police Department (WPD)

Headquarters (HQ), and spoke with WPD Detective (DET) James Baker, to report that R.M. had

been the victim of a Bitcoin ATM scam. Upon arrival at Westport PD, R.M. stated that he had

received a phone call from a now suspected fraudster utilizing phone number 470-401-6509.

R.M. stated that the fraudster claimed to be an employee of "PayPal" and advised R.M. that there

was a fraudulent purchase on R.M.'s account. The fraudster then attempted to assist R.M. with

"securing his accounts" in a claimed effort to prevent additional losses to R.M.

       17.     According to R.M., during this process the fraudster gained access to both R.M.'s

computer and bank account. Furthermore, it appears the fraudster conducted an overpayment

scam in which the fraudster made it appear to R.M. that too much money had been paid into

R.M.'s account. The fraudster then urged R.M. to withdraw the money from his local bank and

subsequently send it to the fraudster via a Bitcoin ATM.

       18.      R.M. stated that later on the same date, R.M. withdrew $15,300.00 United States

Dollars (USD) from R.M.'s Chase bank account ending in 1985. The fraudster then first directed

R.M. to a B itcoin ATM located at 210 Danbury Rd. Wilton, CT 06897.

        19.    Upon arrival R.M. deposited $2,500.00 USD into that ATM, which converted to

approximately .04511100 in Bitcoin, and those funds were then sent to Bitcoin wallet

"bclq8s83e6d8dxd36u5rylg7ma8c0r8ddc4drkn42w". R.M. stated that the Bitcoin ATM

appeared to have a $2,500.00 USD limit of deposit on the machine, which R.M. relayed to the

fraudster. The fraudster then directed R.M. to a Cash2Bitcoin ATM located 219 East Avenue



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Norwalk, CT 06855.

       20.    R.M. stated that R.M. then deposited $12,800.00 USD into the Cash2Bitcoin

ATM located at 219 East Avenue, Norwalk, CT and attempted to send it to Bitcoin Wallet

"be 1q8s83e6d8dxd3 6u5rylg7ma8c0r8ddc4drkn42w".

       21.    R.M. stated that, during this process, Cash2Bitcoin ATM compliance contacted

R.M. and explained that, due to Cash2Bitcoin's observations, R.M. was likely participating in a

fraud scam. R.M. stated that he then hung up with the fraudsters. This resulted in R.M. not

completing the transfer of$12,800.00 USD into Bitcoin Wallet

"be 1q8s83e6d8dxd36u5rylg7ma8c0r8ddc4drkn42w".

       22.    Subsequently, WPD DET Baker conducted a trace ofthe $2,500.00 USD

converted to Bitcoin that was sent from the Bitcoin Depot ATM. At the time ofR.M.'s report,

the funds deposited by R.M. appeared to remain in the original Bitcoin wallet. As a result, WPD

DET Baker placed an alert for any incoming and outgoing activity on the wallet.

       23.    During the interview with R.M., WPD DET Baker observed that .04504 Bitcoin,

or approximately $1,909.00 USD, had left Bitcoin wallet

"bclq8s83e6d8dxd36u5rylg7ma8c0r8ddc4drkn42w" and was sent to Bitcoin wallet

"bclq0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc9lend". Based on previous transaction history,

Bitcoin wallet "be 1q0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc9lend" had only withdrawn money

via crypto exchange "Binance" via Bitcoin wallet

"16WjdlczG9ttvaRSgsAGfoHZMaMwW4JJnp".

       24.     WPD DET Baker submitted a request for information to Binance connected to

Bitcoin wallet "16WjdlczG9ttvaRSgsAGfoHZMaMwW4JJnp". WPD DET Baker also

contacted investigators from Binance and requested that



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"bclq0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc9lend" be "blacklisted" to ensure that any funds

from this wallet that are sent to Binance will be frozen, to which Binance complied.

       25.     On February 4, 2024, WPD DET Baker received an alert indicating funds had left

Bitcoin Wallet "bclq0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc91end". Information showed that

approximately .61 6 Bitcoin was sent to Bitcoin wallet

" lKKLz5GFLkJcNkVh7rBvXhTxCNwQ3FpS4Z", the TARGET WALLET. WPD DET Baker

confirmed with Binance that these funds were currently frozen. WPD DET Baker then

submitted a formal freeze funds request to Binance regarding Bitcoin wallet

"1KKLz5GFLkJcNkVh7rBvXhTxCNwQ3FpS4Z", the TARGET WALLET, to which Binance

again complied.

       26.     Binance then provided information showing that TARGET WALLET was

associated with User ID 422706648, email address "as5424978@gmail.com", and the name

Alok Kumar SINGH. An Income Tax Department Identification from the country of India

appearing to belong to SINGH was also associated with the account.

       27.      WPD DET Baker then attempted to contact SINGH at the telephone number

attached to the profile for the TARGET WALLET. WPD DET Baker spoke to an individual

identifying themselves as SINGH, and hereafter referred to as SINGH, and SINGH stated that he

receives Bitcoin as part of a job he found on Telegram. SINGH stated that he then exchanges the

Bitcoin to "Tether" tokens, a different cryptocurrency, and SINGH earns a commission for each

transaction. WPD DET Baker informed SINGH that the funds had been frozen within SINGH's

Bitcoin wallet "lKKLz5GFLkJcNkVh7rBvXhTxCNwQ3FpS4Z", the TARGET WALLET, and

that a search and seizure warrant would be applied for in connection with those funds.

        28.    WPD DET Baker observed the TARGET WALLET has been associated with



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SINGH since March 14, 2022. The TARGET WALLET has conducted 45 inbound transactions

totaling 10.140985 BTC valued at $360,866 and 37 outbound transactions totaling 10.140985

BTC valued at $360,175. WPD DET Baker observed the pattern that 1 or more inbound

transactions would be pooled and usually sent to Binance on the same day. Using TRM tracing,

WPD DET Baker observed approximately $314,200 (87%) of the incoming transactions can be

traced to Cash-to-Crypto ATM services.

       29.    WPD DET Baker then conducted a reverse trace for the comingled funds in the

TARGET WALLET. WPD DET Baker observed 3 initial transactions on January 30, 2024, that

were attributed to Bitcoin ATM Kiosks. The first transaction appeared on January 30, 2024, at

approximately 2:42 PM EST. Based on TRM tracing software, this transaction bore transaction

hash "a496220e7a6780321877237adfcd51eeb04d616b35a3a7e l blc2269ac5b835dl " and was

conducted a Bitcoin Depot ATM for approximately .176898 Bitcoin. Those funds were sent to

Bitcoin wallet "bclqjx3y35srltp2vualqqdrvn2htjslrcta6fqudt".

       30.     The next transaction appeared to have occurred on January 30, 2024, at 3:46 PM

EST. Based on TRM tracing software, this transaction bore transaction hash

"6le56f33a35fd7f16daa3ead4c32dc9al la21dc710926decbdd5bca7689fade2" and was

conducted at a Bitcoin Depot ATM for approximately .08813. Those funds were then sent to

Bitcoin wallet "bclqjx3y35srltp2vualqqdrvn2htjslrcta6fqudt".

       31.     The next transaction also appeared to have occurred on January 30, 2024, at 6:48

PM EST. Based on TRM tracing software, this transaction bore transaction hash

"5b593dl d64a64397b71bl c7e9595c396b3bb7d382a072acfac2087e250ce9410" and was

conducted at a RockitCoin ATM for approximately .07870192 Bitcoin. Those funds were sent

to Bitcoin wallet "be l qjx3y35srltp2vualqqdrvn2htjslrcta6fqudt".



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       32.     Subsequently, these funds appeared to be gathered together inBitcoin wallet

"be 1qjx3y35srltp2vualqqdrvn2htjslrcta6fqudt", along with two additional unidentified deposits.

The entire balance of theBitcoin wallet, approximately .55164445Bitcoin, was then sent to

Bitcoin wallet "bclq0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc9lend" on February 1, 2024 at 10:30

AM EST. Those funds were then co-mingled with R.M.'s fraudulently stolenBitcoin.

       33.     On February 2, 2024, at 12:58 PM EST, approximately .616Bitcoin was sent to

the TARGET WALLET. Upon arrival, the .616Bitcoin was frozen immediately as stated above.

       34.     On February 6, 2024, HSI Criminal Analyst (CA) Josh Cameron submitted

Summons requests toBitcoin Depot and RockltCoin for the above listed transactions.

       35.     On February 12, 2024, HSI CA Cameron provided WPD DETBaker with the

RockltCoin Summons return. Information from that return showed that RockltCoin identified a

possible victim as A.D. from Waynesboro, PA. On February 12, 2024, WPD DETBaker spoke

with A.O. telephonically and informed her of the investigation.

       36.     During that conversation, A.D. stated that she was the victim of a similar scam as

R.M., and A.O. stated that she had made 3 separateBitcoin transactions on 01/30/2024. A.O.

provided pictures via email of the threeBitcoin ATM receipts. A.O.' s receipts matched the

transactions listed above forBitcoin Depot and RockltCoin. Furthermore, they show the January

30, 2024 transactions at $10,000.00 USO for .176898Bitcoin, $5,000.00 USO for .08813

Bitcoin, and $4,200.00 USD for .07870192Bitcoin. A.D.'s total loss ofBitcoin was .34372992

Bitcoin.




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      37.     As of February 26, 2023, WPD DET Baker had successfully seized .04504 BTC

from Bitcoin Wallet "bclq0n8s7hwp4z4qzjv4m0yhljz5x5576aqfc9lend" via State of CT Seizure

Warrant.
       38.    On February 13, 2024, and again on February 26, 2024, WPD DET Baker spoke

with your Affiant regarding this investigation and provided your Affiant with the relevant

information contained within this Affidavit.

       39.     The following is a visual depiction of the facts and circumstances articulated in

the above paragraphs:




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    40.   At the time of this Affidavit, it appears that .616 Bitcoin is contained within the

TARGET WALLET.




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                                         CONCLUSION

       41.     Based on the foregoing information set forth above, I submit that probable cause

exists to believe that the contents of the TARGET WALLET were obtained from wire fraud in

violation of l 8 U.S.C. § 1343 , and that the TARGET WALLET is involved in money laundering

in violation of 18 U.S.C. § 1956, and I request that the Court issue a seizure warrant pursuant to

pursuant to 18 U.S.C. § 98l(b), 18 U.S.C. § 982(b)(l ), and 21 U.S.C. § 853(f).




                                              GEOFFREY GOODWIN
                                              SPECIAL AGENT
                                              HOMELAND SECURITY INVESTIGATIONS



       The truth of the foregoing affidavit has been attested to me by Special Agent Geoffrey

Goodwin over the telephone on this /J� day of March, 2024, at           f:,,/_rcl'"/f., l,!




                                              HONORABLE S. DAVE VATTI
                                              UNITED STATES MAGISTRATE WDGE




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